                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE


HALEY HARGIS, as Personal
Representative of the ESTATE OF
JONATHAN MARK HARGIS,

       Plaintiff,

v.                                                   Civil Action No. _________________

OVERTON COUNTY, TENNESSEE,
CITY OF LIVINGSTON, MELISSA
BARNES, AMANDA POORE, DONALD
SHAVER, DUSTIN PETTIT, AMBER
BEATY, DAVID NELSON, SAMUEL
WEBB, CHRISTENA SAKKINEN,
MELODY CRAWFORD, BRITTANY
SIDWELL, MICHAEL THARP, J.D.
MASTERS, THOMAS JOHNSON, and
JEREMY LAYCOCK,

       Defendants.



                                   COMPLAINT and
                                DEMAND FOR JURY TRIAL


       The Plaintiff, for the claims against the Defendants, alleges as follows:

       1.      This is a complaint for false imprisonment, assault, battery, and violations of 42

U.S.C. § 1983 arising out of the Livingston Police Department and Overton County Sheriff’s

Department’s illegal detention and murder of Plaintiff’s Decedent, Jonathan Mark Hargis.

       2.      In May 2020, the entire country watched with horror as multiple Minneapolis

Police Department officers knelt on George Floyd for approximately seven to eight minutes,

killing him.




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        3.         For the next year, the murder of George Floyd—and the positional asphyxia by

which it was accomplished—was the subject of endless news reports, discussion, and attention,

particularly in the law enforcement community.

        4.         Despite all of this, on March 30, 2021, correctional officers and deputies at the

Overton County Sheriff’s Department (“OCSD”) attempted to “restrain” Mr. Hargis while in

custody at the Overton County Jail by placing him face-down on the floor and leaning significant

weight onto his torso for over three minutes, asphyxiating him.

        5.         Given the worldwide publicity of the George Floyd murder and the officers’

general training, each of the officers who participated in killing Mr. Hargis was excruciatingly

aware of the specific risks of their unlawful and excessive conduct.

        6.         More tragically, Mr. Hargis should never have been at the Overton County Jail in

the first place.

        7.         The Livingston Police Department (“LPD”) initially detained Mr. Hargis on

March 29, 2021, ostensibly pursuant to Tennessee’s law for emergency involuntary treatment of

a mental illness or serious emotional disturbance.

        8.         Instead of following the mandatory involuntary commitment procedures spelled

out in Title 33, Part 6, Chapter 4 of the Tennessee Code, the LPD officers who detained Mr.

Hargis imprisoned him at the Overton County Jail despite the fact that he had no criminal

charges against him and no warrants out for his arrest.

        9.         This refusal to follow the law was not a one-off mistake; since February 2020, the

LPD and OCSD have illegally placed dozens of people in the Overton County Jail for no reason

other than having a mental illness, in complete disregard for state and federal law.




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       10.     Thus, the Estate of Jonathan Mark Hargis brings this case for, among other things,

remedies for the violations of Mr. Hargis’s constitutional rights pursuant to 42 U.S.C. § 1983.

                                           PARTIES

       11.     Plaintiff Haley Hargis is the Personal Representative of the Estate of Jonathan

Mark Hargis and was duly appointed by the Overton County Chancery Court by Order entered

on February 8, 2022, in Case No. 22-PR-14 (hereinafter “Plaintiff,” “Mr. Hargis,” or “the

Estate”).

       12.     Jonathan Mark Hargis was a United States citizen and a resident of Overton

County, Tennessee, at the time of his death.

       13.     Defendant Overton County, Tennessee, is a municipal corporation formed and

existing under the laws of the State of Tennessee and may be served with process through the

County Executive’s Office, located at 306 West Main Street, Room 232, Livingston, Tennessee

38570. Overton County, Tennessee, by and through the actions of the Overton County Sheriff’s

Department, is a “person” for purposes of 42 U.S.C. § 1983.

       14.     Defendant City of Livingston is a municipal corporation formed and existing

under the laws of the State of Tennessee and may be served with process through the Livingston

Mayor’s Office, located at 301 McHenry Circle, Livingston, Tennessee 38570. City of

Livingston operates the Livingston Police Department and is considered a “person” for purposes

of 42 U.S.C. § 1983.

       15.     Defendant Melissa Barnes is an officer employed by the Overton County Sheriff’s

Department and is sued in her personal capacity. Defendant Melissa Barnes may be served with

process at 1479 Old Union Road, Hilham, Tennessee 38568.




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       16.    Defendant Amanda Poore is the Overton County Sheriff’s Department jail

administrator and is sued in her personal capacity. Defendant Amanda Poore may be served with

process at 329 Meadowbrook Circle, Livingston, Tennessee 38570.

       17.    Defendant Donald Shaver is a deputy and/or officer employed by the Overton

County Sheriff’s Department and is sued in his personal capacity. Defendant Donald Shaver may

be served with process at 915 Chestnut Street, Livingston, Tennessee 38570.

       18.    Defendant Dustin Pettit is an officer employed by the Overton County Sheriff’s

Department and is sued in his personal capacity. Defendant Dustin Pettit may be served with

process at 1025 Skyline Drive, Monterey, Tennessee 38574.

       19.    Defendant Amber Beaty is an officer employed by the Overton County Sheriff’s

Department and is sued in her personal capacity. Defendant Amber Beaty may be served with

process at 125 Masiongale Road, Pall Mall, Tennessee 38577.

       20.    Defendant David Nelson is an officer employed by the Overton County Sheriff’s

Department and is sued in his personal capacity. Defendant David Nelson may be served with

process at 374 W. Stevens Street, Apt. B, Cookeville, Tennessee 38501.

       21.    Defendant Samuel Webb is an officer employed by the Overton County Sheriff’s

Department and is sued in his personal capacity. Defendant Samuel Webb may be served with

process at 17791 Clarkrange Highway, Monterey, Tennessee 38574.

       22.    Defendant Christena Sakkinen is an officer employed by the Overton County

Sheriff’s Department and is sued in her personal capacity. Defendant Christena Sakkinen may be

served with process at 136 Boles Road, Hilham, Tennessee 38568.




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       23.     Defendant Melody Crawford is an officer employed by the Overton County

Sheriff’s Department and is sued in her personal capacity. Defendant Melody Crawford may be

served with process at 216 Oakley Allons Road, Allons, Tennessee 38541.

       24.     Defendant Brittany Sidwell is an officer employed by the Overton County

Sheriff’s Department and is sued in her personal capacity. Defendant Brittany Sidwell may be

served with process at 78 Melvin Hummel Road, Allons, Tennessee 38541.

       25.     Defendant Michael Tharp is a deputy employed by the Overton County Sheriff’s

Department and is sued in his personal capacity. Defendant Michael Tharp may be served with

process at 3920 Celina Highway, Allons, Tennessee 38541.

       26.     Defendant J.D. Masters is a police officer employed by Defendant City of

Livingston and is sued in his personal capacity. Upon information and belief, Defendant J.D.

Masters may be served with process at 136 Ward Lane, Livingston, Tennessee 38570.

       27.     Defendant Thomas Johnson is a police officer employed by Defendant City of

Livingston and is sued in his personal capacity. Defendant Thomas Johnson may be served with

process at 721 Oakley Allons Road, Allons, Tennessee 38541 or, alternatively, at Livingston

Police Department, 900 North Church Street, Livingston, Tennessee 38570.

       28.     Defendant Jeremy Laycock is a police officer employed by Defendant City of

Livingston and is sued in his personal capacity. Defendant Jeremy Laycock may be served with

process at 214 E. Wilmouth Road, Rickman, Tennessee 38580.

                                JURISDICTION AND VENUE

       29.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1343 because Plaintiff brings these claims for relief pursuant to 42 U.S.C. § 1983.




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        30.    This Court also had jurisdiction over this action pursuant to 28 U.S.C. § 1367,

based upon supplemental jurisdiction for the state law claims.

        31.    Based upon its supplemental jurisdiction, this Court should exercise its pendent

jurisdiction because the Plaintiff’s state law claims derive from the same common nucleus of

operative facts as the federal claims and all such claims are so interrelated that they may be fairly

and efficiently disposed of in one lawsuit.

        32.    Venue is properly set within this district pursuant to 28 U.S.C.S. § 1391(b),

because, among other things, all Defendants reside in or are located in the Middle District of

Tennessee and the events upon which this suit are based occurred in this judicial district.

                                      RELEVANT FACTS

Background on emergency detention procedure in Tennessee

        33.    Tennessee has a clear, statutory process for the emergency detention and

involuntary admission of mentally ill individuals who pose a substantial and immediate risk of

harm to themselves or others.

        34.    This process, outlined in Tenn. Code Ann. § 33-6-401, et seq., is intended to

balance individuals’ liberty interests in safety and freedom of movement with relevant state

interests.

        35.    According to this statutory procedure, if a law enforcement officer has reason to

believe that a person poses an immediate substantial likelihood of serious harm because of a

mental illness or serious emotional disturbance, then that officer may detain the person for

immediate examination to determine if the person requires involuntary admission to a mental

health facility. See Tenn. Code Ann. §§ 33-6-401, -402.




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       36.     If a law enforcement officer detains a person pursuant to Tenn. Code Ann. § 33-6-

402 and brings the person to a licensed physician, the physician must immediately examine the

person to decide whether the person is subject to involuntary admission to a hospital or other

treatment resource under Tenn. Code Ann. § 33-6-403. See Tenn. Code Ann. § 33-6-404.

       37.     If the physician determines the person is subject to involuntary admission, the

physician must:

               a. Complete a Certificate of Need (“CON”) for emergency diagnosis, evaluation,

                   and treatment showing the factual foundation for the conclusions reached on

                   each item of Tenn. Code Ann. § 33-6-403;

               b. Assess the person’s clinical needs in consultation with a mental health

                   professional or knowledgeable family member; and,

               c. If admission is sought to a state-owned or state-run facility, verify that the

                   state-owned or state-run facility has been contacted and has available suitable

                   accommodations, acknowledging such verification in writing.

See Tenn. Code Ann. § 33-6-404(3)(B).

       38.     Once the physician has completed the steps set forth in Tenn. Code Ann. § 33-6-

404, the physician must give the original CON and a written statement verifying that the state-

owned or state-run facility has available accommodations to the local sheriff. See Tenn. Code

Ann. § 33-6-406.

       39.     It is then the sheriff’s responsibility not only to transport the person to the state-

owned or state-run facility at which the person is proposed to be admitted, but also to notify the

facility as to where the person is and the best estimate of anticipated time of arrival at the

facility. See Tenn. Code Ann. § 33-6-406.



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       40.     At no time is it permissible to detain a person subject to emergency detention

and/or involuntary admission in a jail unless the person has been charged with or convicted of a

crime. See Tenn. Code Ann. § 33-6-425.

LPD and OCSD officers illegally place Jonathan Hargis in jail

       41.     On March 29, 2021, at 6:53 a.m., the Livingston Police Department (“LPD”)

received a call reporting a disturbance in regard to a man later identified as Jonathan Mark

Hargis, a/k/a Jonathon Mark Hargis, who was walking around the Carr Gas station on Bradford

Hicks Drive in Livingston, Tennessee.

       42.     The caller told LPD that “they need to do something with [Mr. Hargis] before he

hurts somebody or gets hurt hisself” (spelling matches pronunciation).

       43.     At or around 7:00 a.m., Defendants J.D. Masters (“Officer Masters”) and Thomas

Johnson, a/k/a Tommy Johnson (“Officer Johnson”) of the LPD arrived at the Carr Gas station.

       44.     At or around 7:08 a.m., Officer Masters and Officer Johnson took Mr. Hargis into

custody and escorted him to the Emergency Department at Livingston Regional Medical Center

(“LRMC”).

       45.     According to LPD’s Command Log, Mr. Hargis was being transported to LRMC

for a “POSSIBLE 604.”

       46.     The “POSSIBLE 604” notation is a reference to Tenn. Code Ann. § 33-6-404.

       47.     While Officers Masters and Johnson were en route to LRMC with Mr. Hargis,

Officer Johnson contacted Defendant Jeremy Laycock (“Sgt. Laycock”) of LPD and asked,

“Jeremy, can you grab one of those forms out of that back office? We’re going to need that here

just momentarily for the doctor to sign to hold [Mr. Hargis] over at the Garrett Motel.”




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         48.   “Garrett Motel” is a commonly used reference to the Overton County Jail, for

which Sheriff John Garrett of the Overton County Sheriff’s Department (“OCSD”) has charge

and custody.

         49.   The form requested by Officer Johnson is “Part 1” of a three-part document

created by the State of Tennessee Department of Mental Health and Substance Abuse Services

(“DMHSAS”). The purpose of the form (“Emergency Detention Form”) is to document an

emergency detention for immediate mental health examination as authorized by Tenn. Code

Ann. § 33-6-402.

         50.   LPD regularly maintains blank copies of the Emergency Detention Form for

completion by hospital physician(s) and staff before LPD officers transport persons with mental

illnesses or serious emotional disturbances to the Overton County Jail.

         51.   At or around 7:10 a.m., Officer Masters and Officer Johnson entered the LRMC

Emergency Department with Mr. Hargis and escorted him to a room.

         52.   At or around 7:22 a.m., Sgt. Laycock arrived at the LRMC Emergency

Department with the Emergency Detention Form.

         53.   By 7:22 a.m., LPD had confirmed, and Officer Masters, Officer Johnson, and Sgt.

Laycock had become aware, that Mr. Hargis had no outstanding warrants in Overton County or

any surrounding jurisdictions.

         54.   In other words, LPD had no probable cause to arrest or detain Mr. Hargis for any

crime.

         55.   Officer Masters, Officer Johnson, and Sgt. Laycock detained Mr. Hargis at the

LRMC Emergency Department for a total of approximately 40 minutes, during which time




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Officer Masters supervised Mr. Hargis while Officer Johnson and Sgt. Laycock arranged for

completion of the Emergency Detention Form.

        56.    At or around 7:24 a.m., Dr. Karen Oldham signed the Emergency Detention

Form, stating “confusion, hallucinations and delusions” as her basis for believing Mr. Hargis to

be suffering a mental illness or serious emotional disturbance and posing an immediate risk of

harm.

        57.    Although the nursing staff at the LRMC Emergency Department completed Mr.

Hargis’ triage and intake, Dr. Karen Oldham never personally examined Mr. Hargis.

        58.    At Officer Johnson and Sgt. Laycock’s behest, Dr. Karen Oldham completed the

Emergency Detention Form using only the information conveyed to her instead of personally

examining Mr. Hargis to determine whether his condition required involuntary admission to a

hospital or treatment resource pursuant to Tenn. Code Ann. § 33-6-404.

        59.    At or around 7:40 a.m., Dr. Karen Oldham again signed the Emergency Detention

Form and noted Mr. Hargis’s disposition as “medically cleared.”

        60.    Upon completion of the Emergency Detention Form, Officer Johnson told Officer

Masters in a hushed tone so that Mr. Hargis would not hear him, “Alright, hospital has his papers

if you wanna take him and go to the jail.”

        61.    At or around 7:48 a.m., Officer Masters, Officer Johnson, and Sgt. Laycock

brought Mr. Hargis outside LRMC and placed him into Officer Masters’ police cruiser.

        62.    Once Mr. Hargis was inside Officer Masters’ cruiser with the door closed, Officer

Masters asked Officer Johnson and Sgt. Laycock to contact OCSD to arrange for the sally port to

be open with persons ready to assist in bringing Mr. Hargis into the jail.




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       63.     Officer Masters then entered his police cruiser and drove Mr. Hargis to the

Overton County Jail.

       64.     On the way to the jail, Officer Masters told dispatch over the radio he was taking

Mr. Hargis to “the other place,” deliberately concealing their true destination from Mr. Hargis.

       65.     Upon arriving at the jail, Officer Masters met with two OCSD corrections

officers, Defendant Dustin Pettit (“Sgt. Pettit”) and Defendant Amber Beaty (“Officer Beaty”),

and arranged to take Mr. Hargis into the jail.

       66.     At 7:55 a.m., Defendant Amanda Poore (“Jail Administrator Poore”) booked

Jonathan Mark Hargis into the Overton County Jail and assigned him a booking and jacket

number.

       67.     Jonathan Hargis was neither charged with nor convicted of a crime at the time he

was being booked into the Overton County Jail.

       68.     Nor was Mr. Hargis even suspected of any crime.

       69.     In the OCSD’s jail management system, Mr. Hargis was booked as an inmate for

a purported “psychiatric hold” using the code “0671 – 6401 HOLD.”

       70.     “0671 – 6401 HOLD” is a custom code created by OCSD for processing

individuals being detained for having a mental illness or serious emotional disturbance and

purportedly awaiting involuntary admission to Moccasin Bend Mental Health Institute

(“Moccasin Bend”), one of four regional mental health institutes operated by the State of

Tennessee.

       71.     “0671 — 6401 HOLD” is a reference to Tenn. Code Ann. § 33-6-401 et seq.




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        72.     Of the 52 counties in Middle and East Tennessee served by Moccasin Bend, only

Overton County’s jail management system has a custom code for booking individuals for

“psychiatric hold.”

        73.     Despite being booked for a “psychiatric hold” pending admission to Moccasin

Bend, neither LPD nor OCSD nor any personnel at LRMC contacted Moccasin Bend to check

for available accommodations or otherwise apprise Moccasin Bend of an intent to transport Mr.

Hargis to that facility.

        74.     At 7:56 a.m., Officer Masters, Sgt. Pettit, and Officer Beaty forced Mr. Hargis

into a small, dirty cell in the booking area of the jail, despite his pleas to be put somewhere else.

        75.     After forcing Mr. Hargis into his cell, Officer Masters said to him through the

door, “Serve out your time,” by which Officer Masters intended to mean, and which is

understood to mean, an instruction that Mr. Hargis serve a criminal sentence.

        76.     At or around 7:57 a.m., Sgt. Pettit asked Officer Masters whether Mr. Hargis had

any pending charges. Officer Masters responded, “No charges yet; day’s not over though.”

        77.     For clarity, at that time Sgt. Pettit, Officer Beaty, Jail Administrator Poore, and

Officer Masters all understood that Mr. Hargis had not been charged with any crime, that there

was not probable cause to hold Mr. Hargis for any crime, and there was no warrant on which to

hold Mr. Hargis. That is, they knew there was no legal justification to hold Mr. Hargis “yet.”

        78.     Officer Masters then thanked the OCSD corrections officers for their assistance

and exited the jail.

        79.     Despite the clear mandate of Tenn. Code Ann. § 33-6-425 that no person be

detained at a jail unless that person has been charged with or convicted of a crime, and despite

the failure of anyone to ever contact Moccasin Bend about Mr. Hargis as required by Tenn. Code



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Ann. § 33-6-404 and -406, OCSD detained Mr. Hargis at the Overton County Jail for the next 29

hours for the ostensible purpose of awaiting availability for Mr. Hargis at Moccasin Bend.

OCSD and LPD’s practice of illegally detaining mentally unwell persons

       80.     Mr. Hargis was not the first person illegally held at the Overton County Jail for a

“psychiatric hold,” nor was he the last.

       81.     Beginning in 2020, Overton County and City of Livingston, by and through

OCSD and LPD, respectively, adopted a policy and custom of de facto criminalizing mental

illness and flatly ignoring the process required by Tennessee law for emergency detention and

involuntary admission.

       82.     Since February 11, 2020, OCSD has illegally booked and detained 52 persons as

inmates at the Overton County Jail for so-called “psychiatric holds” pending admission to

Moccasin Bend.

       83.     For each of the 52 persons illegally detained at Overton County Jail, OCSD

booked them into the jail management system using the “0671 — 6401 HOLD” code customized

by OCSD for the express purpose of detaining mentally ill persons with no criminal charges.

       84.     LPD worked with OCSD to accomplish the jailing of some, if not all, of the 52

persons illegally detained since February 2020, including Jonathan Hargis.

       85.     LPD keeps blank copies of the Emergency Detention Form in its back office for

the ultimate purpose of using the Tennessee statute for emergency detention as pretext to

incarcerate mentally ill persons at the jail, a/k/a the “Garrett Motel.”

Background during 2020 and 2021

       86.     Law enforcement agencies throughout the country have known for decades that

keeping individuals in the prone position for an extended period of time results in dangerous



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health risks because it can interfere with the individual’s ability to breathe. This phenomenon is

known as “positional asphyxia,” “compression asphyxia,” and “restraint asphyxia.”

       87.     A bulletin to law enforcement communities, written and published by the U.S.

Department of Justice in 1995, described the “vicious cycle” that occurs when an individual is

restrained while face-down: The individual’s breathing becomes labored; when weight is

applied to the person’s back, the compression exacerbates the individual’s difficulty breathing;

the natural reaction to oxygen deficiency (struggling more violently) occurs; the officer applies

more compression to subdue the individual; and the individual is asphyxiated.

       88.     The dangers of positional asphyxia are significantly exacerbated when the

individual is restrained (e.g., handcuffs and leg shackles).

       89.     As a result of the well-known and well-documented effects of putting weight on a

subdued individual in a prone restraint, police departments for over 25 years have been

implementing policies and training to instruct officers that they should not leave restrained

individuals in the prone position for extended periods of time and should not put pressure onto

their necks and/or torsos.

       90.     Then, on May 25, 2020, four officers with the Minneapolis Police Department

murdered George Floyd by way of positional asphyxia for approximately seven to eight minutes.

       91.     The murder of George Floyd sparked international protest against police violence

and a national conversation about the dangers of positional asphyxia.

       92.     In June 2020, while the nation was still reeling from the death of George Floyd,

Tennessee received the attention of local and national media regarding the in-custody death of

Sterling Higgins at the Obion County Jail after a civil rights lawsuit had been filed against the

officials involved, accusing them of asphyxiating Sterling Higgins on the floor of the jail.



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       93.     From May 25, 2020, through March 30, 2021, positional asphyxia and excessive

force were at the forefront of national discussion about policing in America.

       94.     During that time, Overton County Sheriff John Garrett and other decision-making

personnel at the OCSD were well aware of the inherent risks of prone restraints.

       95.     In fact, in July 2020, the OCSD even included as part of a one-hour training

presentation for deputies on intellectual and developmental disabilities (“IDD”) a warning about

the dangers of positional asphyxiation, advising deputies to “[a]void pressure to neck, back, or

chest” and to “[e]nsure you can see the person’s face during a restraint.”

OCSD officers use excessive force and kill Jonathan Hargis

       96.     On March 30, 2021, at or around 12:53 p.m., Defendant Samuel Webb (“Officer

Webb”) and Defendant Christena Sakkinen (“Officer Sakkinen”) purportedly observed Mr.

Hargis scratching at his eye.

       97.     Based solely on this purported observation, Officers Webb and Sakkinen decided

to assault and restrain Mr. Hargis.

       98.     Officer Webb and Officer Sakkinen contacted the facility nurse and radioed for

backup to help restrain Mr. Hargis.

       99.     Sgt. Pettit, Defendant David Nelson (“Cpl. Nelson”), and Defendant Donald

Shaver (“Lt. Shaver”) came to the booking area to help place Mr. Hargis into a restraint chair.

       100.    Lt. Shaver asked Jonathan Hargis to hold his hands through the pie-flap of the

door so that Lt. Shaver could apply handcuffs to his wrists.

       101.    Hargis complied with Lt. Shaver’s request, and Lt. Shaver handcuffed him.

       102.    At approximately 12:56 p.m., Officer Webb, Sgt. Pettit, Cpl. Nelson, and Lt.

Shaver opened the door of Mr. Hargis’ cell with a restraint chair readied.



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        103.    Moments later, Mr. Hargis lunged toward Sgt. Pettit, at which time the four men

wrestled Mr. Hargis to the ground and subdued him.

        104.    At Lt. Shaver’s instruction, Officer Webb left the booking area at approximately

12:57 p.m. to fetch leg-irons to further restrain Mr. Hargis.

        105.    By 12:59 p.m., Cpl. Nelson and Officer Webb shackled Jonathan Hargis’ legs.

        106.    Then, Lt. Shaver and Sgt. Pettit hoisted Mr. Hargis to his knees and began to

move him into the restraint chair.

        107.    Having been illegally detained, lied to about going to jail, assaulted, and

experiencing a mental health crisis, Mr. Hargis perceived a threat to his life and dove toward the

ground to avoid being put into the restraint chair.

        108.    After a couple of minutes, Officer Webb, Sgt. Pettit, Cpl. Nelson, and Lt. Shaver

again tried to forcibly move Mr. Hargis from the ground and into the restraint chair with Officer

Sakkinen’s assistance.

        109.    Again, in context, perceiving a threat to his life, Mr. Hargis pushed his head down

into the restraint chair, grabbed the arm of the chair, and struggled with the officers for several

minutes.

        110.    At approximately 1:06 p.m., Defendant Melissa Barnes (“Officer Barnes”) and

Defendant Melody Crawford (“Officer Crawford”) approached Hargis in the booking area of the

jail to assist the other officers.

        111.    At about this time, Jail Administrator Poore and Defendant Brittany Sidwell

(“Officer Sidwell”) were present and observing.




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          112.   At approximately 1:07 p.m., in response to Mr. Hargis pushing back from the

restraint chair, Sgt. Pettit and Cpl. Nelson forced him to the floor, slamming Mr. Hargis’ head

onto the ground in the process.

          113.   Once Mr. Hargis was on the ground, Defendant Michael Tharp (“Lt. Tharp”), a

road deputy and training officer at OCSD, entered the booking area to assist in restraining Mr.

Hargis.

          114.   At approximately 1:08 p.m., Mr. Hargis was lying prone on the floor of the jail

while Lt. Tharp restrained his legs and Sgt. Pettit and Cpl. Nelson placed significant body weight

on Mr. Hargis’ torso.

          115.   From approximately 1:08 p.m. to 1:10 p.m., while multiple officers held him

down, Jonathan Hargis attempted to move his still-handcuffed hands under his chest in order to

push himself up to breathe.

          116.   At this time, upon information and belief, all officers were aware that Mr. Hargis

was having trouble breathing.

          117.   Each time Mr. Hargis attempted to bring his hands under his chest, Sgt. Pettit and

Cpl. Nelson forcibly stretched his hands back outward and Cpl. Nelson put pressure onto the

back of Mr. Hargis’s neck.

          118.   During that use of force, Mr. Hargis shifted slightly onto his side.

          119.   At approximately 1:11 p.m., Lt. Shaver, Lt. Tharp, Sgt. Pettit, Cpl. Nelson, and

Officer Webb forced Mr. Hargis back into the prone position and held him down, with Sgt. Pettit

and Cpl. Nelson placing nearly all of their body weight onto Mr. Hargis’ torso.




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       120.    While holding Mr. Hargis down in a prone restraint, Sgt. Pettit and Officer Webb

forced his hands out from under him, preventing him from being able to push himself up to

breathe.

       121.    Moments later, Officer Crawford placed her foot onto Mr. Hargis’ backside and

assisted in holding Mr. Hargis down in a prone position.

       122.    That position already restricted Mr. Hargis’ ability to breathe, and Officer

Crawford’s foot and weight amplified the restriction.

       123.    Officer Sakkinen and Officer Barnes assisted Sgt. Pettit and Officer Webb in

holding Mr. Hargis’ arms, further restricting Mr. Hargis’ ability to breathe.

       124.    For approximately 3 minutes and 16 seconds, as many as seven officers at any

given time held Mr. Hargis down on the floor of the jail, with two officers—Sgt. Pettit and Cpl.

Nelson—placing most, if not all, of their body weight onto his upper body:




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       125.    Officer Sidwell and Jail Administrator Poore saw and were aware of the other

officers’ excessive use of force and ongoing positional asphyxiation of Mr. Hargis.

       126.    Yet, Officer Sidwell and Jail Administrator Poor did nothing to intervene.

       127.    At approximately 1:15 p.m., Officer Barnes noticed Mr. Hargis was unresponsive.

       128.    The OCSD officers slowly turned Mr. Hargis over onto his back and found that he

was not breathing.

       129.    As Officer Barnes and the facility nurse attempted to resuscitate Mr. Hargis with a

sternum rub, chest compressions, and use of the jail’s AED machine, Jail Administrator Poore

called for an ambulance.

       130.    At approximately 1:20 p.m., paramedics transported Mr. Hargis to LRMC for

emergency medical care.

       131.    Jonathan Hargis was later transported to TriStar Southern Hills Medical Center,

where he was diagnosed with anoxic brain injury.

       132.    At approximately 1:00 p.m. on March 31, 2021, Jonathan Hargis died of his

injuries sustained at the Overton County Jail.

       133.    The Davidson County Medical Examiner’s Office concluded Mr. Hargis’s cause

of death was asphyxia and the manner of his death was a homicide. The OCSD Defendants killed

Mr. Hargis by way of asphyxia.

                              FIRST CAUSE OF ACTION
Section 1983 Claim for False Arrest & False Imprisonment Against Livingston Defendants

       134.    Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.

       135.    At all relevant times, Officer Masters, Officer Johnson, and Sgt. Laycock

(collectively, “the Livingston Defendants”) were acting under color of state law.

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        136.    Officer Masters, Officer Johnson, and Sgt. Laycock willfully and intentionally

seized, detained, and arrested Jonathan Mark Hargis, and caused him to be imprisoned, without

probable cause, and without a reasonable basis to believe such cause existed.

        137.    The Livingston Defendants wrongfully and unlawfully detained Jonathan Mark

Hargis and caused him to be imprisoned with deliberate indifference toward, and with callous

disregard for, his constitutional rights.

        138.    Although the Livingston Defendants ostensibly detained Jonathan Mark Hargis

pursuant to Tenn. Code Ann. § 33-6-401 et seq., Defendants violated and abused the statute to

justify throwing Mr. Hargis into jail and did so with no intention of assisting him in obtaining

mental health care.

        139.    By arresting and detaining Jonathan Mark Hargis at the Overton County Jail

without any criminal charges and without probable cause, the Livingston Defendants subjected

Mr. Hargis to false arrest and false imprisonment in violation of his Fourth Amendment right to

be free from unreasonable seizure.

        140.    By denying Jonathan Mark Hargis the process to which he was entitled pursuant

to Tenn. Code Ann. § 33-6-401 et seq., the Livingston Defendants deprived Mr. Hargis of liberty

interests secured and/or guaranteed by Tennessee law—including but not limited to Tenn. Code

Ann. § 33-3-101(a), Tenn. Code Ann. § 33-6-425, and Tenn. Const. art. I §§ 7 and 8—in

violation of his Fourteenth Amendment right to due process.

        141.    Additionally, by denying Jonathan Mark Hargis the process to which he was

entitled under state law, the Livingston Defendants deprived Mr. Hargis of liberty interests also

guaranteed by federal constitutional law, including but not limited to freedom of movement,

freedom from undue restraint, and/or the right to adequate medical care.



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          142.   Based on the foregoing, the Livingston Defendants violated Section 1983 and

caused Mr. Hargis to suffer the deprivation of his liberty, the loss of his constitutional rights, and

mental anguish.

                              SECOND CAUSE OF ACTION
 Municipal Liability Pursuant to Section 1983 and Monell v. Department of Social Services,
 436 U.S. 658 (1978) for Livingston Defendants’ Violations of Civil Rights Against the City
                                       of Livingston

          143.   Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.

          144.   At all relevant times, Defendant City of Livingston, by and through the actions,

policies, and customs of the LPD and its officers, acted under color of law.

          145.   It is the policy and custom of the LPD to illegally detain persons suspected of

having a mental illness at the Overton County Jail, without probable cause to believe such

persons have committed a crime and in deliberate indifference to such persons’ rights.

          146.   As part of its policy and custom of illegally jailing the mentally ill, LPD regularly

maintains blank copies of the Emergency Detention Form for officers to use as a pretext for

arranging to hold people with mental illnesses at the “Garrett Motel,” a/k/a, the Overton County

Jail.

          147.   As a result of LPD’s policy and custom of illegally jailing mentally ill persons

with no criminal charges or outstanding warrants in clear violation of constitutional and

Tennessee statutory law, the individual Livingston Defendants falsely arrested and imprisoned

Jonathan Mark Hargis in violation of his Fourth Amendment right to be free from unreasonable

seizures and his Fourteenth Amendment right to be free from deprivation of his liberty interests

without due process of law.




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        148.    City of Livingston Chief of Police Greg Etheredge (“Chief Etheredge”) is the

final decision-maker with respect to establishing LPD policy relating to mental health detentions

by City of Livingston police officers.

        149.    At all relevant times Chief Etheredge was aware that LPD officers are only

authorized by the State of Tennessee to effectuate initial emergency mental health detentions.

        150.    At all relevant times Chief Etheredge knew or should have known the mandatory

procedures and laws governing emergency detentions and involuntary admissions.

        151.    Despite knowing his officers would likely come into frequent contact with

persons experiencing mental illness, Chief Etheredge failed to implement policies and/or

adequate training to guide interactions with the mentally ill and to instruct officers on how to

comply with Tenn. Code Ann. § 33-6-401 et seq.

        152.    At all relevant times Chief Etheredge was responsible for LPD’s policy and

custom of illegally jailing the mentally ill or, alternatively, tolerated or acquiesced to his officers’

practice of unlawfully imprisoning persons with mental illness.

        153.    Chief Etheredge reviewed and approved both the decisions made and reasons for

falsely arresting and imprisoning Jonathan Mark Hargis.

        154.    For the reasons stated herein, the City of Livingston is liable for the deprivation of

Mr. Hargis’ liberty, the loss of his constitutional rights, and his mental anguish.

                              THIRD CAUSE OF ACTION
        Section 1983 False Imprisonment Claim Against Dustin Pettit, Amber Beaty,
                                   and Amanda Poore

        155.    Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.




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       156.    At all relevant times, Sgt. Pettit, Officer Beaty, and Jail Administrator Poore were

acting under color of law.

       157.    Sgt. Pettit, Officer Beaty, and Jail Administrator Poore willfully and intentionally

booked and imprisoned Jonathan Mark Hargis without probable cause, in violation of state and

federal law, and without due process pursuant to Tennessee law for emergency detention and

involuntary admission.

       158.    Even after learning Mr. Hargis had not been arrested for probable cause or

otherwise had any charges against him, Jail Administrator Poore booked Jonathan Hargis into the

Overton County Jail, processing him as an inmate and keeping him in a cell alone for 29 hours.

       159.    By doing so, Jail Administrator Poore, in conjunction with Sgt. Pettit and Officer

Beaty, subjected Mr. Hargis to false imprisonment, thereby violating his Fourth Amendment

right to be free from unreasonable seizure.

       160.    Despite booking Mr. Hargis as a “0671 – 6401 HOLD” pending admission to

Moccasin Bend, Jail Administrator Poore did not check for or secure completion of a Certificate

of Need, nor did Jail Administrator Poore make any attempt to secure an examination for Mr.

Hargis in compliance with Tenn. Code Ann. §§ 33-6-404 and -407.

       161.    Despite booking Mr. Hargis as a “0671 – 6401 HOLD” pending admission to

Moccasin Bend, Jail Administrator Poore never contacted Moccasin Bend concerning

availability or otherwise made any attempt to secure Mr. Hargis’s transportation to a hospital or

other treatment resource.

       162.    By denying Mr. Hargis the process to which he was entitled pursuant to Tenn.

Code Ann. § 33-6-401 et seq., Jail Administrator Poore deprived Mr. Hargis of liberty interests

secured and/or guaranteed by Tennessee law—including but not limited to Tenn. Code Ann. §



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33-3-101(a), Tenn. Code Ann. § 33-6-425, and Tenn. Const. art. I §§ 7 and 8—in violation of his

Fourteenth Amendment right to due process.

       163.    As the person who booked Jonathan Mark Hargis into the Overton County Jail

and who is otherwise tasked with the responsibility of overseeing the jail’s administration, Jail

Administrator Poore directly violated Jonathan Mark Hargis’ civil rights.

       164.    By reason thereof, Sgt. Pettit, Officer Beaty, and Jail Administrator Poore

violated Section 1983 and caused Mr. Hargis to suffer the deprivation of his liberty, the loss of

his constitutional rights, and mental anguish.

                             FOURTH CAUSE OF ACTION
 Municipal Liability Pursuant to Section 1983 and Monell v. Department of Social Services,
  436 U.S. 658 (1978) for Dustin Pettit, Amber Beaty, and Amanda Poore’s Violation of
                Plaintiff’s Constitutional Rights Against Overton County

       165.    Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.

       166.    At all relevant times, Defendant Overton County, by and through the actions,

policies, and customs of the OCSD and its personnel, acted under color of law.

       167.    In conjunction with the LPD, it is the policy and custom of OCSD to illegally jail

persons suspected of having a mental illness at the Overton County Jail without affording such

persons the process due them pursuant to state and federal law, in deliberate indifference to such

persons’ rights.

       168.    As part of its policy of illegally jailing the mentally ill, OCSD created a custom

code for its jail management system for the sole purpose of booking individuals with mental

illnesses and who have not been charged with or convicted of crimes.

       169.    As a result of OCSD’s policy and custom of illegally jailing mentally ill persons

with no criminal charges or outstanding warrants in clear violation of constitutional and

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Tennessee statutory law, OCSD has falsely imprisoned 52 individuals to date, including Jonathan

Mark Hargis, in violation of the Fourth Amendment right to be free from unreasonable seizures

and the Fourteenth Amendment right to be free from deprivation of liberty without due process

of law.

          170.   Overton County Sheriff John Garrett (“Sheriff Garrett”) is the final decision-

maker with respect to establishing official OCSD policy and training.

          171.   At all relevant times Sheriff Garrett knew or should have known the mandatory

procedures and laws governing emergency detentions and involuntary admissions under Tenn.

Code Ann. § 33-6-401 et seq.

          172.   Despite knowing that his deputies and/or jail administrator and correctional

officers would frequently come into contact with persons experiencing mental illness, Sheriff

Garrett and the OCSD failed to implement adequate training to guide interactions with the

mentally ill and to instruct officers on how to comply with Tenn. Code Ann. § 33-6-401 et seq.

          173.   Additionally, Sheriff Garrett and Jail Administrator Poore are the final decision-

makers with respect to establishing OCSD policy relating to administration of the Overton

County Jail.

          174.   At all relevant times Sheriff Garret and Jail Administrator Amanda Poore were

responsible for OCSD’s policy and custom of illegally jailing the mentally ill or, alternatively,

tolerated or acquiesced to the practice of unlawfully imprisoning persons with mental illness.

          175.   For the reasons stated herein, Overton County is liable for the deprivation of Mr.

Hargis’s liberty, loss of his constitutional rights, mental anguish, and subsequent foreseeable

injuries.




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                             FIFTH CAUSE OF ACTION
False Imprisonment Pursuant to Tennessee Common Law Against Livingston Defendants,
            Dustin Pettit, Amber Beaty, Amanda Poore, and Overton County

        176.    Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.

        177.    Officer Masters, Officer Johnson, and Sgt. Laycock (“the Livingston

Defendants”), Sgt. Pettit, Officer Beaty, and Jail Administrator Poore intentionally, recklessly,

and unlawfully violated the personal liberty of Jonathan Mark Hargis upon restraining,

confining, booking, and detaining him against his will at the Overton County Jail without any

legal justification.

        178.    The restraint, confinement, booking, and detention of Jonathan Mark Hargis by

the Livingston Defendants, Sgt. Pettit, Officer Beaty, and Jail Administrator Poore were in no

way privileged or authorized.

        179.    As a direct and proximate result of the unlawful restraint, confinement, booking,

and detention, Jonathan Mark Hargis suffered injuries including but not limited to pain and

suffering, emotional distress, and mental anguish.

        180.    For their intentional and reckless conduct, punitive damages should be awarded.

        181.    Plaintiff additionally asserts Overton County is liable for the false imprisonment

of Jonathan Mark Hargis pursuant to Tenn. Code Ann. § 8-8-302 based on the intentional,

reckless, and unlawful conduct of Jail Administrator Poore.

                                SIXTH CAUSE OF ACTION
           Section 1983 Excessive Force Claim Against Overton County Defendants

        182.    Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.




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       183.      At all relevant times, Officer Webb, Officer Sakkinen, Sgt. Pettit, Cpl. Nelson, Lt.

Shaver, Lt. Tharp, Jail Administrator Poore, Officer Barnes, Officer Crawford, and Officer

Sidwell (collectively, “the Overton County Defendants”) were acting under color of state law.

       184.      The Overton County Defendants intentionally and willfully used excessive force

to subdue Jonathan Mark Hargis in a prone position, placing substantial weight onto his torso,

causing his death by asphyxiation without legal justification or excuse in violation of Mr.

Hargis’s right to be free from undue restraint and excessive force guaranteed by the Fourteenth

Amendment.

       185.      As a result of the Overton County Defendants’ conduct, including the conduct of

those officers who idly watched as Jonathan Mark Hargis suffocated to death for over 3 minutes

and who made no attempts to intervene despite having an affirmative duty to do so, Mr. Hargis

was subjected to a level of force objectively in excess of what was reasonable under the

circumstances.

       186.      As a result of the Overton County Defendants’ excessive force and/or failure to

intervene, Jonathan Mark Hargis suffered physical injury, mental anguish, and death.

                            SEVENTH CAUSE OF ACTION
Municipal Liability Pursuant to Section 1983 and Monell v. Department of Social Services,
436 U.S. 658 (1978) for Overton County Defendants’ Violation of Plaintiff’s Constitutional
                             Rights Against Overton County

       187.      Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.

       188.      Overton County Sheriff John Garrett, Jail Administrator Amanda Poore, and

OCSD’s Facility Training Officer, Lt. Shaver, are the final decision-makers with respect to the

training of correctional officers at Overton County Jail.




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       189.    As a result of OCSD’s policy and custom of illegally jailing the mentally ill for

the purported purpose of involuntary admission to a hospital or treatment resource, the OCSD

effectively operates the Overton County Jail as a de facto mental health facility.

       190.    In spite of its policy of holding individuals with mental illness and serious

emotional disturbance at its jail, OCSD, by and through Sheriff Garrett, Jail Administrator Poore,

and Lt. Shaver, provides wholly inadequate training to its correctional officers in the care,

custody, and treatment of such individuals.

       191.    Specifically, OCSD correctional officers’ training is limited to only a few hours

of “mental health first aid” training, the focus of which is merely connecting the mentally ill with

appropriate professionals, not care or treatment.

       192.    None of OCSD’s training for correctional officers addresses when and how to

restrain an individual experiencing a mental health crisis safely and effectively; when it is

appropriate to isolate someone with a mental illness and for how long; or how to otherwise

diagnose or treat someone with a mental illness.

       193.    OCSD further provides inadequate training on use of force to its correctional

officers by offering only a cursory review of the subject matter and failing to address the dangers

inherent in prone restraints and positional asphyxia.

       194.    The inadequacy of OCSD’s training program regarding mental illness and use of

force, and the attendant likelihood that harm would result therefrom, are so obvious as to amount

to a policy of deliberate indifference toward the rights of those with mental illness to adequate

medical care and to be free from undue restraint and/or excessive force.




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       195.    As a direct result of OCSD’s policy of deliberate indifference to the rights of

those with mental illness, the individual Overton County Defendants suffocated and killed

Jonathan Mark Hargis.

       196.    For the reasons stated herein, Overton County is liable for causing Mr. Hargis the

deprivation of his liberty, the loss of his constitutional rights, mental anguish, pain and suffering,

and wrongful death.

                             EIGHTH CAUSE OF ACTION
     Assault Pursuant to Tennessee Common Law Against Overton County Defendants

       197.    Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.

       198.    Officer Webb, Officer Sakkinen, Sgt. Pettit, Cpl. Nelson, Lt. Shaver, Lt. Tharp,

Jail Administrator Poore, Officer Barnes, Officer Crawford, and Officer Sidwell (“Overton

County Defendants”) intentionally and/or recklessly took overt actions that caused Jonathan

Mark Hargis to reasonably fear imminent physical harm.

       199.    As a direct and proximate result of the Overton County Defendants’ conduct,

Jonathan Mark Hargis suffered injuries and damages including but not limited to pain and

suffering, emotional distress, and mental anguish.

       200.    For their intentional and reckless conduct, punitive damages should be awarded.

       201.    Plaintiff also asserts Overton County is liable for the intentional and/or reckless

conduct of Lt. Tharp and Jail Administrator Poore pursuant to Tenn. Code Ann. § 8-8-302.

                             NINTH CAUSE OF ACTION
Battery Pursuant to Tennessee Common Law Against Certain Overton County Defendants

       202.    Plaintiff hereby realleges and incorporates by reference all of the preceding

paragraphs as though they were fully set forth herein.



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        203.    Officer Webb, Officer Sakkinen, Sgt. Pettit, Cpl. Nelson, Lt. Shaver, Lt. Tharp,

Officer Barnes, and Officer Crawford intentionally and/or recklessly committed acts that resulted

in harmful and offensive contact when they used excessive and unlawful force to violently

restrain and ultimately suffocate Jonathan Mark Hargis.

        204.    The harmful and offensive contact caused by Officer Webb, Officer Sakkinen,

Sgt. Pettit, Cpl. Nelson, Lt. Shaver, Lt. Tharp, Officer Barnes, and Officer Crawford was of such

a nature as to infringe on a reasonable sense of personal dignity ordinarily respected in a

civilized society.

        205.    As a direct and proximate result of the harmful and offensive contact, Jonathan

Mark Hargis suffered injuries and damages including but not limited to pain and suffering,

emotional distress, mental anguish, and wrongful death.

        206.    For their intentional and reckless conduct, punitive damages should be awarded.

        207.    Plaintiff also asserts Overton County is liable for the intentional and/or reckless

conduct of Lt. Tharp pursuant to Tenn. Code Ann. § 8-8-302.

                                         JURY DEMAND

        Pursuant to Fed. R. Civ. P. 38, the Plaintiff hereby demands a trial by a jury.

                                      PRAYER FOR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs hereby pray for the following:

        1.      A judgment against Defendants, jointly and severally, for compensatory damages

in an amount to be proven at trial.

        2.      A judgment against the individual Defendants for punitive damages in an amount

to be proven at trial.




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       3.     An award of costs and attorney’s fees, as provided by applicable provisions of

federal and state statutory and common law.

       4.     An award of pre- and post-judgment interest as permitted by law.

       5.     For all other relief, both general and specific, to which Plaintiffs may be entitled.

                                              Respectfully submitted,

                                               /s/ Gregory Brown
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